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Attorneys for Plaintiff Tyler Technologies, Inc.




                        IN THE UNITED STATES DISTRICT COURT

                               FOR THE DISTRICT OF OREGON

                                      PORTLAND DIVISION


TYLER TECHNOLOGIES, INC., a Delaware                  Case No.
Corporation,

                                      Plaintiff,      COMPLAINT
       v.
                                                      (Declaratory Judgment; Quantum Meruit,
MULTNOMAH COUNTY, OREGON,                             Specific Performance, Declaratory
                                                      Judgment)
                                  Defendant.
                                                      DEMAND FOR JURY TRIAL



       Plaintiff Tyler Technologies, Inc. (“Tyler”) files this Original Complaint against

Defendant Multnomah County, Oregon (“Multnomah”). In support of its claims herein, Tyler

respectfully alleges the following:

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                                               I. PARTIES

       1.       Tyler is a Delaware corporation that maintains a principal place of business at

5101 Tennyson Parkway, Plano, Texas 75024.

       2.       Defendant Multnomah is a political subdivision of the State of Oregon.

Multnomah may be served with process by serving Jenny M. Madkour, County Attorney, at 501

S.E. Hawthorn Blvd., Portland, Oregon 97214.

                               II. JURISDICTION AND VENUE

       3.       This Court has jurisdiction over this action pursuant to 28 U.S.C. § 1332 because

Tyler and Multnomah are citizens of different states and the amount in controversy, exclusive of

interest and costs, exceeds $75,000.

       4.       Venue is proper in this district pursuant to 28 U.S.C. § 1391(b)(1) & (2).

Multnomah is located in this District and a substantial part of the events or omissions giving rise

to Tyler’s claims occurred in this District.

                                III. FACTUAL BACKGROUND

       5.       Tyler is the largest software company in the nation that focuses solely on

providing integrated software and technology services to the public sector. Tyler has more than

26,000 successful installations across more than 10,000 sites, with clients in all 50 states,

Canada, the Caribbean, Australia, and other international locations. Tyler’s Courts & Justice

Division offers a variety of software solutions as part of its Odyssey product suite. Tyler’s

Odyssey solutions are implemented in more than 600 jurisdictions, and offer robust case

management solutions for judges, clerks, attorneys, and other members of the justice community.

       6.       Tyler’s software solutions, including Odyssey, are “commercial off-the-shelf” or

“COTS” products. Instead of building an entirely custom software solution for each client, Tyler



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licenses a replicable core solution that can be adjusted on a client-by-client basis using built-in

configurations. Once a client “goes live” on the software, the client transitions to a Tyler support

team for ongoing maintenance and help desk services. Post go-live, as part of a process known

as “continuous improvement,” Tyler often continues working with its clients to implement

additional features and functionality that may not have been included within the scope of the

original go-live. And, as part of the ongoing maintenance, Tyler provides regular updates to the

software, allowing Tyler to make improvements and upgrades available to all clients that are live

on a specific software solution. Tyler’s COTS products are particularly attractive options to

governmental entities because they provide high-quality software solutions at a much more

economical price than fully customized solutions.

       7.       On August 11, 2016, Tyler and Multnomah entered into a Master Agreement

#4400002300 (together with the relevant ancillary documents, including the Statement of Work,

Investment Summary, and Amendments referenced below, the “Agreement”), whereby Tyler

agreed to provide certain software and services to Multnomah in order to implement Tyler’s

Odyssey Attorney Manager solution (“Odyssey”) for the Multnomah County District Attorney

(“MCDA”). MCDA was replacing its existing prosecutorial record management system that had

been in place since 2002 because that technology had become obsolete.

       8.       The Agreement provided for Tyler to license Odyssey to Multnomah and to

provide certain professional services required to implement that software. The specifics of those

professional services are detailed in a Statement of Work (“SOW”) attached to the Agreement as

Exhibit C. The SOW divided the implementation into four “Phases” and itemized and identified

the specific “Deliverables” that Tyler was to provide pursuant to the Agreement. The SOW

further outlined each party’s unique responsibilities during a given phase. In addition, the


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Agreement included a Maintenance and Support Services Agreement that governed the parties’

post-go-live obligations, including Tyler’s ongoing maintenance and support services.

       9.       Multnomah’s payment obligations are outlined in an Investment Summary

attached to the Agreement as Schedule 1. The Agreement requires Multnomah to pay for a total

of $248,980 in licensing fees for the software and an initial annual maintenance fee of $52,286.

It also requires Multnomah to pay for 8,088 hours of professional services at a cost of

$1,321,267. Those services constitute the scope of the project and were quoted as a “not-to-

exceed” cost. See Agreement at Section 5.1. The professional services fees are “payable based

on completion and Acceptance of the” specified Deliverables. For example, Deliverable 1.1.1 is

the “Project Management Plan.”        Upon completion and Acceptance of that Deliverable,

Multnomah is required to pay $24,000 to Tyler.

       10.      The SOW further provides that, “[w]ith respect to delivery and acceptance of the

deliverables included in this SOW, the parties will follow the procedures and processes set forth

in the [SOW].” Agreement Exhibit C, SOW at 2. In addition to payment for each Deliverable

being owed upon completion and Acceptance of a specific Deliverable, Section 7.3 of the

Agreement also provides that:

       Upon completion of each of the identified Phases in the SOW, [Multnomah] shall
       have the period specified within the SOW in which to inspect the work completed
       by Tyler and notify Tyler of work that is not accepted, based upon a deviation
       from the specifications agreed upon and documented in the deliverables of Phase
       1 of the SOW. If written notice of any work that is not accepted is not
       provided within the specified period, all work under the Phase shall be
       deemed accepted.


       11.      The Investment Summary also provides for specific discounted rates in the event

Multnomah opts to request additional professional services beyond the scope of those outlined in



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the initial agreement.

       12.     As part of the Agreement, Multnomah contractually acknowledged “that the

implementation of the Project is a cooperative process requiring the time and resources of

[Multnomah] and Tyler personnel.” Agreement at Section 5.4. Moreover, both parties “shall,

and shall cause its personnel to, use all reasonable efforts to cooperate with and assist the other

Party as may be reasonably required to timely implement the Project[.]” Id. Multnomah’s

responsibilities also included providing all training for its personnel; collecting, preparing and

entering all data necessary for the daily operation of the software; providing the networks

required to run the software; staffing an internal help desk function; and, prior to go-live,

installing all updates and changes to the software that Tyler made available. See id. at Section

9.2.

       13.     The SOW provided further details of Multnomah’s responsibilities, including

timely and responsible decision-making, “from strategic-level decisions to smaller, detailed

configuration decisions.” Agreement Exhibit C, SOW at 3. Multnomah was supposed to

designate “Subject Matter Experts” to make decisions on behalf of their business areas, as well

as a Project Manager to, for example, coordinate the participation of the Multnomah Subject

Matter Experts, coordinate the review and approval Tyler deliverables, and communicate the

project status to the Multnomah team. See id.

       14.     Less than a year into the implementation, Multnomah began expanding the scope

of the project. In Tyler’s experience with implementations of this nature, it is not uncommon for

clients like Multnomah to want the new system to mimic the functionality of its legacy system,

as the end users struggle through their internal change management process. However, because

Odyssey is a COTS product, the ability to adjust functionality without costly and time-


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consuming custom development is limited. Tyler encouraged Multnomah to adhere to the

original scope of the project, warning that efforts to significantly customize the software would

add major costs and delay the project. Multnomah, however, had changed leadership since the

original Agreement was executed, and new leadership insisted on expanding the project’s scope

to try to accommodate the end user’s unique demands. All told, Multnomah almost doubled

custom development work, moving away from the COTS solution it had contracted for in order

to substitute custom functionality in an effort to replicate many of the nuances of its legacy

system in the Odyssey installation.

       15.     Tyler tried to accommodate Multnomah as best it could. The expansions were

memorialized in multiple amendments and parallel agreements to the Agreement. For example,

on January 1, 2018, the parties executed Amendment No. Three, which increased the total hours

of professional services by 1920 hours and the total cost of implementation services by

$288,000. Amendment No. Three also contained modified acceptance criteria specific to the

services provided pursuant that that Amendment.

       16.     On May 4, 2018, the parties executed Amendment Four, which further increased

the number of hours by 350 and the total cost by $52,500. On July 30, 2018, Tyler and

Multnomah entered into a Professional Services Agreement adding 479 hours and $71,850 of

development costs for additional services related to the Agreement. A second Professional

Service Agreement was executed on January 18, 2019, which added an additional 76 hours and

$11,400 of cost to the implementation.

       17.     While the scope of the project was significantly expanding, Multnomah was also

asserting that it had internal resource issues that prevented it from completing Multnomah’s

portions of the implementation. In an effort to keep the implementation on track, Tyler agreed to


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take on additional responsibilities beyond the scope of those identified in the SOW without the

need for additional compensation.

        18.     In April 2018, Tyler delivered the core (non-custom) Odyssey solution and put

that core solution through user acceptance testing, also referred to by the parties as “solution

validation.” There was an aggregate pass rate of 90% on all tested processes. Tyler addressed

each of the issues that arose, while also continuing to accommodate significant changes in scope

and address other project challenges.

        19.     In November 2018, Tyler and Multnomah met in an effort to streamline the

project’s scope and re-align the parties’ efforts towards a successful go-live. Tyler agreed once

again to take on additional work that had previously been Multnomah’s responsibility. As a

result of the meeting, Tyler continued to perform services above and beyond those set forth in

the Agreement, driving towards another round of “solution delivery” to satisfy Multnomah’s

requests for additional testing.

        20.     On March 27, 2019, Tyler’s project team met with Multnomah’s team, including

the Interim Chief Information Officer Bob Leek. A follow-up meeting occurred on March 28,

2019, with Mr. Leek and Tyler’s project leadership.              Minutes from that meeting

contemporaneously shared between both parties indicate that Mr. Leek confirmed acceptance of

solution delivery at that meeting and indicated a willingness to move to user acceptance testing,

or “solution validation.”

        21.     In accordance with Mr. Leek’s acceptance, on March 29, 2019, Tyler invoiced

Multnomah for Deliverables completed and accepted as of that date and began to prepare for the

final steps in the project.




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       22.      On April 3, 2019, Multnomah provided Tyler with a letter vaguely alleging that

Tyler had breached the Agreement and purporting to “formally notif[y] Tyler that it does not

accept any of the deliverables under Phases 2.2.2, 2.3.1, 2.3.2, 3.4.2 or REQs 2041, 2044, 2173,

2290, 2595, or 2788.” Multnomah’s stated rationale for refusing to accept such Deliverables was

that they “were not complete.” In so doing, Multnomah took the position, contrary to the express

terms of the Agreement, that payment for a Deliverable is not due until the product is deployed,

tested and validated as a “functioning integrated solution,” a standard not set forth in the

Agreement. Indeed, Multnomah confused the concept of “Final Acceptance” in the Agreement

with that of completion and acceptance of a specific Deliverable.         There is a significant

distinction between the delivery of a fully-functioning, integrated solution and that of specific

parts and pieces of such a solution. The Agreement expressly provides for payment of each part

and piece along the way, not for payment only at the completion of the project.

       23.      In response to Multnomah’s April 3, 2019 letter, Tyler adamantly denied the

suggestion that it was in breach of the Agreement and suggested that the parties proceed with the

dispute resolution mechanisms outlined the Agreement. On May 9, 2019, the parties held a joint

meeting in Portland subject to the dispute resolution provisions in the Agreement.

       24.      For the next few months, the parties attempted to negotiate an amendment to the

Agreement. A meeting to finalize the amendment was set for July 26, 2019. On July 23, 2019,

Multnomah abruptly rejected the amendment and indicated that it did not want to complete the

project. Work on the implementation ceased at Multnomah’s request. Tyler made repeated

attempts to offer alternative paths towards re-engagement. Although Multnomah would initially

express a willingness to entertain those paths, Multnomah ultimately rejected each of Tyler’s

attempts.


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       25.     Multnomah owes, but refuses to pay, Tyler for invoices related to numerous

Deliverables that have been completed and accepted:

         REQ-2595                               $9,000

         REQ-2788                               $11,400

         Deliverable 2.2.2                      $260,000

         Deliverable 2.3.1                      $155,000

         Deliverable 2.3.2                      $417,920

         REQ-2041                               $9,600

         REQ-2044                               $8,400

         REQ-2173                               $34,500

         REQ-2290                               $6,000

         Deliverable 3.4.2                      $166,500

         TOTAL                                  $1,078,320



       26.     Thus, Tyler has performed services totaling at least $1,078,320 in value for

Multnomah that have not yet been paid and for which Multnomah is unreasonably withholding

payment in breach of the Agreement.

                                  VI. CAUSES OF ACTION

                              COUNT I. - BREACH OF CONTRACT

       27.     Tyler re-alleges and incorporates the allegations in all previous paragraphs as if

expressly set forth herein.

       28.     Tyler and Multnomah entered into a valid and binding contract as described

herein and as evidenced by the Agreement signed by the parties, including the SOW and other


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relevant ancillary documents.

       29.     At all relevant times, Tyler has been willing and able to perform its obligations

under the Agreement. Multnomah has repudiated its obligations under the Agreement, and,

despite repeated requests, Multnomah has failed to pay invoices properly issued for Deliverables

that were completed and accepted.

       30.     Multnomah’s breach of the Agreement has directly and proximately caused

damage to Tyler in excess of the minimum jurisdictional limits of this Court.

                          COUNT II. – SPECIFIC PERFORMANCE

       31.     Tyler re-alleges and incorporates the allegations in all previous paragraphs as if

expressly set forth herein.

       32.     Tyler and Multnomah entered into a valid and binding contract as described

herein and as evidenced by the Agreement signed by the parties, including the SOW and other

relevant ancillary documents.

       33.     At all relevant times, Tyler has been willing and able to perform its obligations

under the Agreement. Multnomah has repudiated its obligations under the Agreement, and,

despite repeated requests, Multnomah has failed to pay invoices properly issued for Deliverables

that were completed and accepted.

       34.     Tyler seeks an order of specific performance requiring Multnomah to pay

invoices properly issued for Deliverables that were completed and accepted and otherwise

perform its obligations pursuant to the Agreement.

                              COUNT III. – QUANTUM MERUIT

       35.     Tyler re-alleges and incorporates the allegations in all previous paragraphs as if

expressly set forth herein.


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       36.     Tyler conferred a significant benefit on Multnomah by providing over $1 million

of implementation services to Multnomah. Multnomah was aware that it was receiving the

benefit and that the services had value. Multnomah was aware that Tyler expected to be paid for

the services. Under the circumstances, it would be unjust to allow Multnomah to retain the

benefit of those services without making payment to Tyler.

       37.     Multnomah’s failure to pay for such Deliverables and services has directly and

proximately caused damage to Tyler in excess of the minimum jurisdictional limits of this Court.

                        COUNT IV. – DECLARATORY JUDGMENT

       38.     Tyler re-alleges and incorporates the allegations in all previous paragraphs as if

expressly set forth herein.

       39.     Pursuant to 28 U.S.C. § 2201, Tyler seeks a declaratory judgment from this Court

that Tyler’s actions have been consistent with the obligations imposed pursuant to the

Agreement, and that Tyler has not breached the Agreement;



                                    PRAYER FOR RELIEF

       WHEREFORE, Tyler requests that this Court grant it judgment against Multnomah and

award to Tyler:

               (i).    Tyler’s economic, actual and consequential damages in excess of the

                       minimum jurisdictional limits of this Court;

               (ii)    a declaratory judgment that Tyler’s actions have been consistent with the

                       obligations imposed pursuant to the Agreement and that Tyler has not

                       breached the Agreement;

               (ii).   pre-judgment interest as may be provided by law;


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              (iii).   necessary and reasonable attorneys’ fees and costs of court through trial

                       and appeal of this action;

              (iv).    post-judgment interest at the highest lawful rate from the date of judgment

                       until such judgment is satisfied; and

              (v).     such other and further relief to which Tyler may be entitled.



Dated: July 6, 2020                           Respectfully submitted:


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